                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

FERISSA TALLEY,                            )
                                           )
                        Plaintiff,         )
                                           )
vs.                                        )       Case No. 19-00493-CV-W-ODS
                                           )
U.S. DEPARTMENT OF LABOR,                  )
                                           )
                        Defendant.         )

       ORDER (1) GRANTING THE PARTIES’ REQUESTS TO LIFT THE STAY,
    (2) LIFTING THE STAY, (3) DENYING PLAINTIFF’S OTHER REQUESTS FOR
    RELIEF, AND (3) DIRECTING THE PARTIES TO FILE DISPOSITIVE MOTIONS
       In July 2019, the Court stayed this matter pending the Eighth Circuit’s disposition
of Jordan v. United States Department of Labor, No. 19-1743. Doc. #7. On February
21, 2020, the Eighth Circuit issued its decision in Jordan, affirming the Court’s decisions
to dismiss some claims as duplicative of another pending litigation and granting
summary judgment on the remaining claims. No. 18-6129 (Doc. #81-1). Before and
after the Eighth Circuit issued its decision, several motions were filed in this matter:
Plaintiff’s Motion and Facts and Suggestions Supporting Motion to Reconsider and Lift
the Stay (Doc. #33), Plaintiff’s Motion to Lift Stay (Doc. #44), Defendant’s Motion to Lift
[Stay] and Response to Plaintiff’s Motion to Reconsider and Reverse Stay (Doc. #45),
and Plaintiff’s Motion to Lift Stay or Ex[p]lain How Judge Smith is Not Using the Stay to
Commit Crimes (Doc. #58).
       On May 5, 2020, the Eighth Circuit issued its mandate. No. 18-6129 (Doc. #82).
In doing so, the Eighth Circuit has disposed of the Jordan matter. 16AA Catherine T.
Struve, Federal Practice and Procedure § 3987 (4th ed. 2020). (stating “[u]ntil the
mandate issues…, the case ordinarily remains within the jurisdiction of the court of
appeals.”). Accordingly, the Court grants the parties’ requests to lift the stay and hereby
lifts the stay in this matter.
       Defendant requests the Court enter a briefing schedule, requiring the parties to
file dispositive motions within thirty days of the mandate being issued. Doc. #45, at 1;




         Case 4:19-cv-00493-ODS Document 62 Filed 05/05/20 Page 1 of 2
Doc. #59, at 1. Plaintiff argues Defendant’s request should be denied because
Defendant has “willfully failed to ever show that tying the timing of proceedings in this
case to proceedings in Jordan 2018 was not clearly contrary to clear and clearly-
controlling plain language of the Constitution, federal law and Supreme Court and
Eighth Circuit precedent.” Doc. #46, at 1; see also Doc. #60, at 1-2. He also contends
Defendant “has refused to address” the “blatant illegality” of the stay. Id.; see also Doc.
#60, at 1-2. Finally, Plaintiff argues Defendant’s motion fails to comply with the Local
Rules and the Federal Rules of Civil Procedure. Id. at 2; see also Doc. #60, at 2.
Plaintiff, however, does not provide an alternative suggestion as to how this case should
move forward.
       The Court directs the parties to file all dispositive motions by no later than June
3, 2020. The parties’ motions and filings shall comply with the requirements set forth in
the Local Rules and the Federal Rules of Civil Procedure. Plaintiff’s remaining requests
in the above-referenced motions are denied.
IT IS SO ORDERED.

                                                   /s/ Ortrie D. Smith
 DATE: May 5, 2020                                 ORTRIE D. SMITH, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




                                             2
         Case 4:19-cv-00493-ODS Document 62 Filed 05/05/20 Page 2 of 2
